






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00028-CV







Frederic A. Gladle Management Trust; Frederic A. Gladle

Living Trust; Barbara E. Gladle; Barbara Lynne Gladle Management Trust;

Barbara Lynne Gladle Living Trust; Alan Lynne Family Trust;

LT Entertainment Center, LP; LT Entertainment Group, LLC; Alan Lynne

Family Partnership; Meriport Capital, Inc.; and Train, Inc., Appellants


v.



Dustin Leifheit, Samantha Leifheit and Darryl Leifheit, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. D-1-GN-06-003987, HONORABLE GISELA D. TRIANA, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	Appellant Frederic A. Gladle has filed for bankruptcy protection (United States
Bankruptcy Court, W.D. Texas, Chapter 13, No. 07-10570-frm).  Accordingly, the appeal is stayed. 
See 11 U.S.C. § 362; Tex. R. App. P. 8. (1)  Any party may file a motion to reinstate upon the
occurrence of an event that would allow the case to proceed.  See Tex. R. App. P. 8.3.  Failure to
notify this Court of a lift of the automatic stay or the termination of the bankruptcy case may result
in the dismissal of the cause for want of prosecution.  See Tex. R. App. P. 42.3(b).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Henson


Abated


Filed:   May 18, 2007
1.        We note that Frederic Gladle, individually, was severed from the underlying cause of action
with a separate judgment rendered against him.  The appeal from that judgment is docketed as cause
number 03-07-00027-CV.  There are multiple other parties in this suit; although the automatic stay
in a bankruptcy case generally does not protect non-debtor parties, if the allegations against the
debtor and non-debtors arise from the same factual and legal basis and are inextricably intertwined,
then the stay may apply to the proceedings if the bankruptcy estate would be jeopardized.  See
11&nbsp;U.S.C. § 362(a); Houston Pipeline Co. LP v. Bank of Am., N.A., 213 S.W.3d 418, 425
(Tex.&nbsp;App.--Houston [1st Dist.] 2006, no pet.).


